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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1

  Jeffrey Kurtzman, Esquire (JK-7689)
  KURTZMAN | STEADY, LLC
  2 Kings Highway West, Suite 102
  Haddonfield, NJ 08033
  kurtzman@kurtzmansteady.com
  Telephone: (856) 428-1060

  Attorneys for Maureen P. Steady,
  as Chapter 7 Trustee

  In re:                                                  Chapter 7

  TNT RENTAL, LLC,                                        Case No. 22-16751 (JNP)

                        Debtor.


              FIRST INTERIM APPLICATION FOR COMPENSATION AND
           REIMBURSEMENT OF EXPENSES OF KURTZMAN | STEADY, LLC,
                AS COUNSEL FOR MAUREEN P. STEADY, CHAPTER 7
                       TRUSTEE, PURSUANT TO 11 U.S.C. §331

       1.      Kurtzman | Steady, LLC (“Applicant”), attorneys for Maureen P. Steady, Chapter

7 trustee (the “Trustee”) of the above-captioned debtor (the “Debtor”), submits its First Interim

Application for Compensation and Reimbursement of Expenses (the “Application”).

       2.      Applicant represents the Trustee as her general counsel.

       3.      Applicant was appointed as the attorneys for the Trustee on September 20, 2022

effective as of August 29, 2022. A copy of the Order appointing Applicant is attached as Exhibit

“A”.

       4.      Applicant is disinterested and has not represented or held an interest adverse to the

interest of the estate on the matters on which it was employed in compliance with 11 U.S.C.

§327(a).
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       5.      The total amount of the unapproved compensation requested for attorneys’ fees is

Sixteen Thousand Five Hundred Eighty-Six Dollars and Fifty Cents ($16,586.50), as set forth in

the attached Exhibit “B”.

       6.      The requested compensation is interim compensation.

       7.      The total out-of-pocket costs for this matter are set forth in the attached Exhibit “B”

and total One Thousand Ninety-Four Dollars and Thirty-Six Cents ($1,094.36).

       8.      Photocopies are billed by Applicant at the rate of twenty cents per copy, facsimiles

are charged at $1.00 per page, including long distance charges, and long-distance telephone

charges, postage and computer research are billed at cost.

       General Case History: The Debtor filed a voluntary chapter 7 petition on August 26,

2022 (the “Petition Date”). The Trustee was thereafter appointed as Chapter 7 trustee of the

Debtors’ estate, has duly qualified and is presently so acting.

       9.      No previous compensation of any kind has been paid to the undersigned.

       10.     No retainer of any nature has been paid to the undersigned.

       11.     The Trustee has had the opportunity to review the Application and has approved

the requested amounts.

       12.     The identity of the individual attorney or paralegal performing the services and their

respective hourly rates are as follows:

       Initials                Name                           Capacity                Hourly Rate

       JK                      Jeffrey Kurtzman               Partner                 $490.00
       MPS                     Maureen P. Steady              Partner                 $385.00

       13.     Applicant submits that, upon information and belief, there are sufficient funds in

the estate to satisfy the within request for compensation and expenses.
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                             SUMMARY OF SERVICES PROVIDED

         14.   As counsel for the Trustee, Applicant has performed legal services which are

described as follows:

               a.       Applicant reviewed the Debtors’ schedules of assets and liabilities and

statement of financial affairs to assist the Trustee in identifying and pursuing claims and causes

of action arising under Chapter 5 of the Bankruptcy Code and in liquidating those assets having

value.

               b.       Together with the Trustee, Applicant conducted a site visit at the Debtor’s

business premises, met with the Debtor’s counsel and principal officers, reviewed the Debtor’s

inventory, machinery, and equipment, analyzed the Debtor’s accounts receivable, and reviewed

lien search information to determine the existence, validity and perfection status of secured

claims against the Debtor.

               c.       Applicant prepared and filed various pleadings to sell inventory and

engaged in negotiations with various parties submitting purchase offers therefor, which resulted

in sale proceeds for the benefit of the estate in excess of $60,000.00.

               d.       In addition, Applicant prepared an auction procedures motion designed to

establish guidelines for the Trustee’s sale of the Debtor’s inventory and equipment by means of a

public auction in order to maximize the value of such assets.

               e.       Applicant took steps to collect the Debtor’s accounts receivable, resulting

in the collection of outstanding receivables without the need for litigation.

               f.       Applicant also analyzed potential avoidance claims arising under Chapter

5 of the Bankruptcy Code, commenced a preference action and took the steps necessary to
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resolve and obtain approval for the settlement of that action, which resulted in a recovery of

$6,500.00.

               g.      Applicant prepared and filed a motion to reject executory contracts and

unexpired leases, which was approved by this Court and which enabled the Trustee to minimize

administrative expense obligations of the estate.

                                    RELIEF REQUESTED

       15.     In accordance with Local Rule 2016-1(b), attached to this Application as Exhibit

“B” are categorized summaries of all of the Applicant’s time spent and disbursements on behalf

of the Trustee from August 29, 2022 through March 15, 2023.

       WHEREFORE, Kurtzman | Steady, LLC, as attorneys for the Trustee, requests that this

Court enter an Order allowing interim compensation in the amount of $16,586.50 for services

rendered by Kurtzman | Steady, LLC for the period from August 29, 2022 through March 15,

2023 and reimbursement of expenses in the amount of $1,094.36 incurred by Kurtzman | Steady,

LLC for the period August 29, 2022 through March 15, 2023, and granting such other and

further relief as may be just.


Dated: March 15, 2023                         KURTZMAN | STEADY, LLC



                                              By:       /s/ Jeffrey Kurtzman
                                                    Jeffrey Kurtzman, Esquire
                                                    2 Kings Highway West, Suite 102
                                                    Haddonfield, NJ 08033
                                                    Telephone: (856) 428-1060
                                                    Email: kurtzman@kurtzmansteady.com

                                              Attorneys for Maureen P. Steady,
                                              as Chapter 7 Trustee
